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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

Nixon Nicolas
                                                   CASE NO.: 8:17-cv-02377-SCB-AEP
       Plaintiff,

       v.

EOS CCA, SALLIE MAE,
NAVIENT SOLUTIONS, LLC,
NELNET, and TEXAS GUARANTEED,


       Defendants.
                                               /

NOTICE OF PENDING SETTLEMENT AS TO NAVIENT SOLUTIONS LLC ONLY

       Defendant, Navient Solutions, LLC (“NSL”), through undersigned counsel, hereby

submits this Notice of Pending Settlement and states NSL and plaintiff have reached a

settlement with regard to this case as to NSL only and are presently drafting, finalizing,

and executing the formal settlement documents. Upon full execution of the same, the

parties will file the appropriate dismissal documents with the Court.

Dated: February 27, 2018

                                          Respectfully submitted,


                                          /s/Michael P. Schuette
                                          Michael P. Schuette, Esq.
                                          Florida Bar No. 0106181
                                          SESSIONS, FISHMAN, NATHAN & ISRAEL, L.L.C.
                                          3350 Buschwood Park Drive, Suite 195
                                          Tampa, FL 33618
                                          Telephone: (813) 890-2472
                                          Facsimile: (866) 466-3140

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                                          mps@sessions.legal

                                          Attorneys for Defendant
                                          Navient Solutions LLC

                             CERTIFICATE OF SERVICE

       I certify that on this 27th day of February 2018, a copy of the foregoing was filed

electronically in the ECF system. Notice of this filing will be sent to the parties of record

by operation of the Court’s electronic filing system and U.S. First Class Mail including

plaintiffs’ counsel as described below. Parties may access this filing through the Court’s

system.

William Peerce Howard, Esq.                     David C. Borucke, Esq.
Heather H. Jones, Esq.                          Barry A. Postman, Esq.
The Consumer Protection Firm, PLLC              Florida Bar No. 991856
210 A South MacDill Avenue                      COLE, SCOTT, & KISSANE, P.A.
Tampa, Florida 33609                            1645 Palm Beach Lakes Blvd., 2nd Floor
Billy@TheConsumerProtectionFirm.com             West Palm Beach, FL 33401
Heather@TheConsumerProtectionFirm.com           David.Borucke@csklegal.com
                                                Barry.Postman@csklegal.com
                                                Rhonda.Bethune@csklegal.com


Matthew C. Arentsen, Esq.                       Kathryn Throo Williams, Esq.
Brownstein Hyatt Farber Schreck, LLP            Foley & Lardner, LLP
410 Seventeenth Street, Suite 2200              100 N. Tampa St., Ste. 2700
Denver, CO 80202                                Tampa, FL 33602
Telephone: (303) 223-1152                       kwilliams@foley.com
Email: MArentsen@BHFS.com

National Education Loan Network, Inc.           EOS CCA Corporate Headquarters
c/o CT Corporation System                       700 Longwater Drive
1200 South Pine Island Road                     Norwell, MA 02061
Plantation, FL 33324

                                          /s/Michael P. Schuette
                                          Attorney


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